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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


 DEBORAH LAUFER,
                                        Case No. 3:20-cv-09193(FLW)
       Plaintiff,

 vs.                                    Electronically Filed

 EXTENDED STAY AMERICA SOMERSET
 – FRANKLIN, A Maryland Corporation,

       Defendant,



  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
                PLAINTIFF’S AMENDED COMPLAINT




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 I.     INTRODUCTION

        Plaintiff Deborah Laufer ("Plaintiff") initiated this case against Defendant ESA

 Management, LLC, erroneously named by Plaintiff as Extended Stay America – Somerset –

 Franklin, ("Defendant") as one of over 4001 nearly identical ADA lawsuits filed in New

 Jersey, New York, Maryland and elsewhere. Defendant operates many Extended Stay America

 hotels nationwide. Courts in New Jersey and other districts have taken notice of Plaintiff filing

 these identical cases despite lacking subject matter jurisdiction and standing. Plaintiff is a

 resident of Florida and never alleges that she visited the state of New Jersey, the hotel in question

 and makes only vague conclusory allegations in the Amended Complaint that she intends to visit

 the Northeast states when travel restrictions due to COVID are eased. There is no concrete harm

 or risk of immediate future harm.

        To satisfy federal pleading requirements, Plaintiff must sufficiently allege facts which if

 proven true state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). Plaintiff has

 not done so. Accordingly, the Court should grant Defendant’s Motion to Dismiss the Complaint

 pursuant to Federal Rule of Civil Procedure Rule 12(b)(6).

 II.    BACKGROUND

        On July 21, 2020, Plaintiff filed the Complaint against Defendant seeking injunctive

 relief and attorneys’ fees for alleged violations of the Americans with Disabilities Act (“ADA”).

 After Defendant filed a Motion to Dismiss the Complaint on September 8, 2020 (Doc # 8),

 Plaintiff filed an Amended Complaint (Doc # 9) adding new, vague and conclusory allegations.


 1
  See Certification of Kerri E. Chewning, Exhibit 1. Defendant requests that the Court take
 judicial notice of the publicly available judicial filings and compilation of Plaintiff’s litigation
 history. See Sturgeon v. Pharmerica Corp., 438 F. Supp. 3d 246, 257 (E.D. Pa. 2020) (citing
 Victaulic Co. v. Tieman, 499 F.3d 227, 236 (3d Cir. 2007)). Specifically, “publicly available
 records from other judicial proceedings may be judicially noticed in the context of a motion to
 dismiss.” Id.
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 For the most part, Plaintiff’s Complaint and Amended Complaint are the same. Plaintiff alleges

 that she is a resident of Pasco County, Florida. Amended Complaint ¶ 1. Plaintiff alleges that

 she uses an assistive device (such as a cane) to walk and decided to be a “tester” for purposes of

 ADA compliance. Amended Complaint ¶ 1. Plaintiff further alleges that she visited certain

 third party websites (not websites that Defendant owns or controls), such as expedia.com and

 hotels.com, “for the purpose of reviewing and assessing the accessible features at the Property

 and ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e).” Amended

 Complaint ¶ 10. Plaintiff found that such third party websites were lacking accessible

 information about the property in question located at 30 Worlds Fair Dr, Somerset, NJ 08873

 (the “Subject Property”). Amended Complaint ¶¶ 3, 10. Plaintiff, therefore, seeks attorneys’

 fees, costs and injunctive relief. Amended Complaint ¶¶ 20-21.

        Plaintiff attempts to cover the clear deficiencies in her original Complaint by adding new

 content in paragraph 16 of the Amended Complaint stating vaguely that “Plaintiff has plans to

 travel to the Northeast states as soon as the travel restrictions from the COVID crisis are eased.

 This includes traveling all throughout the state of New Jersey, Somerset and the surrounding

 areas.” Critically, however, Plaintiff never alleged in the Amended Complaint that she ever

 visited the state of New Jersey, the town of Somerset, the Subject Property, or that she has

 any concrete and specific plans to visit the Subject Property in New Jersey in the future.

 The Amended Complaint also does not allege that Plaintiff has any reason to travel anywhere in

 New Jersey or any reason to seek lodging anywhere in Somerset.




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 III.    LEGAL ARGUMENT

         A.      Courts Must Sua Sponte Assess Standing For Subject Matter Jurisdiction

         “Article III, Section 2 of the Constitution limits the jurisdiction of the federal courts to

 the resolution of ‘cases’ and ‘controversies.’ To ensure that this bedrock case-or-controversy

 requirement is met, courts require that plaintiffs establish their standing as the proper parties to

 bring suit.’” Sonterra Capital Master Fund Ltd. v. UBS AG, 954 F.3d 529, 533–34 (2d Cir.

 2020) (quoting Langan v. Johnson & Johnson Consumer Cos., 897 F.3d 88, 92 (2d Cir. 2018));

 Kamal v. J. Crew Group, Inc., 918 F.3d 102, 110 (3d Cir. 2019).

         “[I]n our federal system of limited jurisdiction . . . the court sua sponte, at any stage of

 the proceedings, may raise the question of whether the court has subject matter jurisdiction.”

 United Food & Commercial Workers Union v. CenterMark Props. Meriden Square, Inc., 30 F.3d

 298, 301 (2d Cir. 1994) (internal quotation marks and citation omitted); see also Nesbit v. Gears

 Unlimited, Inc., 347 F.3d 72, 76-77 (3d Cir. 2003) (“[B]ecause subject matter jurisdiction is non-

 waivable, courts have an independent obligation to satisfy themselves of jurisdiction if it is in

 doubt.”); Durant, Nichols, Houston, Hodgson & Cortese-Costa P.C. v. Dupont, 565 F.3d 56, 62

 (2d Cir. 2009) (“If subject matter jurisdiction is lacking and no party has called the matter to the

 court’s attention, the court has the duty to dismiss the action sua sponte.”). Indeed, the concept

 of standing is so critical that courts “are required to raise issues of standing sua sponte if such

 issues exist.” Bock v. Pressler & Pressler, LLP, 658 F. App’x 63, 64 (3d Cir. 2016) (citing

 Steele v. Blackman, 236 F.3d 130, 134 n.4 (3d Cir. 2001)). “If plaintiffs do not possess Article

 III standing. . . the District Court. . .lack[s] subject matter jurisdiction to address the merits of

 plaintiffs’ case.” Storino v. Borough of Point Pleasant Beach, 322 F.3d 293, 296 (3d Cir. 2003).




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         B.      Standing Requires Concrete Harm Among Other Elements

         To establish standing a plaintiff must demonstrate (1) an “injury in fact” that is “concrete

 and particularized” and “actual or imminent, not conjectural or hypothetical,” (2) “a causal

 connection between the injury and the conduct complained of,” and (3) redressability of the

 injury by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–65 (1992). Where

 “a case is at the pleading stage, the plaintiff must ‘clearly . . . allege facts demonstrating’ each

 element.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (quoting Warth v. Seldin, 422

 U.S. 490, 518 (1975)).

         “For an injury to be ‘particularized,’ it ‘must affect the plaintiff in a personal and

 individual way.’” Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at 560 n.1). To be

 “concrete” an injury “must actually exist”: the injury must be “real” and not “abstract.”

 Id. Generally, “even in the context of a statutory violation,” “a bare procedural violation,

 divorced from any concrete harm,” does not satisfy the injury-in-fact requirement of Article III.

 Id. at 1549–50 (emphasis added - holding that the plaintiff could not satisfy the demands of

 Article III by simply alleging that consumer reporting agency disseminated information in

 violation of the Fair Credit Reporting Act of 1970: “[a] violation of” a “procedural requirement[]

 may result in no harm” and not all “inaccuracies cause harm or present any material risk of

 harm”). A “risk of real harm” may “satisfy the requirement of concreteness.” Id. at 1549 (noting

 statutes where the violation of a procedural right would be sufficient because Congress identified

 harms sufficient to constitute injury in fact). Thus, “the critical question for standing purposes is

 ‘whether the particular . . . violations alleged . . . entail a degree of risk sufficient to meet the

 concreteness requirement.’” Crupar-Weinmann v. Paris Baguette Am., Inc., 861 F.3d 76, 80 (2d

 Cir. 2017) (emphasis in original) (quoting Spokeo, 136 S. Ct. at 1550).




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         C.      Injunctive Relief Requires Risk Of Immediate Injury

         To have standing to seek injunctive relief Plaintiff has the burden of establishing that she

 “has sustained or is immediately in danger of sustaining some direct injury as the result of the

 challenged . . . conduct.” City of Los Angeles v. Lyons, 461 U.S. 95, 101–02 (1983) (internal

 quotation marks and citation omitted); McNair v. Synapse Group Inc., 672 F.3d 213, 226 (3d Cir.

 2012) (denying class certification because the named plaintiffs lacked standing as they failed to

 demonstrate any “reasonable likelihood of future injury.”); Kreisler v. Second Ave. Diner Corp.,

 731 F.3d 184, 187 (2d Cir. 2013) (“Plaintiffs seeking injunctive relief must also prove that the

 identified injury in fact presents a ‘real and immediate threat of repeated injury.’”) (quoting

 Shain v. Ellison, 356 F.3d 211, 215 (2d Cir. 2004)).

         D.      Plaintiff Here Lacks Standing Because There Is No Concrete Harm

         Plaintiff is a resident of Florida. Amended Complaint ¶ 1. There are no facts in the

 Complaint indicating that she has ever traveled to Somerset, New Jersey, or anywhere in New

 Jersey, or that she has any concrete plans to visit the Subject Property in the future. Plaintiff

 makes only vague allegations hastily included in the Amended Complaint that she plans to travel

 “all throughout the state of New Jersey” when COVID is over. Amended Complaint ¶ 16.

         Plaintiff alleges that she is a “tester” for the ADA. Complaint ¶ 2. However, her status

 as a “tester” is not sufficient to establish subject matter jurisdiction in this action. See Griffin v.

 Dep’t of Labor Fed. Credit Union, 912 F.3d 649, 656 (4th Cir. 2019) (holding that a plaintiff

 who was ineligible to be a member of a credit union failed to establish standing to bring an ADA

 claim concerning its website because tester status “cannot create standing in the absence of an

 otherwise plausible assertion that a return to the website would allow [the plaintiff] to avail

 himself of its services”); see also Harty v. Greenwich Hospitality Group, LLC, 536 F. App’x

 154, 155 (2d Cir. 2013) (finding the plaintiff’s “assertion that he visits public accommodations as


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  an ADA ‘tester’” failed to establish standing as it lacked “the requisite link to Stamford,

  Connecticut”—the location of the defendant’s Hampton Inn).

         Multiple courts have taken notice of these types of spam-style ADA lawsuits without the

  requisite standing. Such courts have dismissed nearly identical cases or filed orders to show

  cause sua sponte regarding whether standing and subject matter jurisdiction exists. For example,

  the court in Laufer v. Laxmi & Sons, LLC, 1:19-cv-01501-BKS-ML, 2020 U.S. Dist. LEXIS

  79545 (N.D.N.Y. May 6, 2020), involving the same Plaintiff as the case at hand (Laufer),

  issued a sua sponte Memorandum-Decision and Order regarding Plaintiff’s lack of standing

  stating, “[t]here are no facts in the Complaint or Plaintiff’s affidavit indicating that she has ever

  traveled to Rensselaer, New York, or anywhere in New York, or that she has any reason to travel

  anywhere in New York or any reason to seek lodging anywhere in New York.” Id. Doc. No. 15

  at 7. The court went on to say, “the Court questions whether the Plaintiff has established

  standing, in accord with Spokeo, Kreisler, and Deeper Life Christian Fellowship, Inc., and thus

  whether the Court has subject matter jurisdiction over this action.” Id. Doc. No. 15 at 9.

         Other courts have taken notice of Plaintiff’s abuse of litigation as well. For example, in

  Laufer v. 1110 Western Albany, LLC, Case No. 1:19-cv-01324-BKS-ML, 2020 U.S. Dist. LEXIS

  81128 (N.D.N.Y. May 7, 2020), the Court issued an Order noting that “Plaintiff Deborah Laufer,

  a Florida resident … has 29, nearly identical, cases pending against different defendants in the

  Northern District of New York.” Id. Doc. No. 21 at 1. The court went on to find that “There

  appears to be a serious question as to whether Plaintiff has established standing, in this, or

  any of her other cases, and thus whether the Court has subject matter jurisdiction over these

  actions.” Id. Doc No. 21 at 2 (emphasis added). The court then ordered Plaintiff file briefs

  addressing whether she has standing in that case and 27 other cases filed by Plaintiff Laufer

  listed in the court’s Exhibit A attached to the Order. Id. Doc No. 21 at 2. Subsequent to that, the


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  case was dismissed due to settlement. Id. Doc Nos. 22, 23. Similarly, the Court here should

  question Plaintiff’s standing, which in fact does not exist.

         In the District of New Jersey, The Hon. Renée Marie Bumb issued an Order to Show

  Cause applicable to three very similar cases also brought by a serial ADA plaintiff residing in

  Florida alleging violations on defendant’s website reservations system. Hernandez v. Caesars

  License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ), Doc No. 4; Hernandez v.

  Caesars License Co., LLC, Case No. 1:19-cv-06088-RMB-KMW (USDC DNJ), Doc No. 4;

  Hernandez v. Montego Bay Resort and Conference Center, Case No. 1:19-cv-06091-RMB-AMD

  (USDC DNJ), Doc No. 4. See Chewning Certif. Exhibit 2. The Court’s Order could easily be

  applied to this case:

                 An examination of the facts alleged in the complaints leads this
                 Court to question whether Plaintiff has established that he has
                 suffered an injury in fact. Plaintiff alleges that he “visited the
                 Property’s website for the purpose of reviewing an assessing the
                 accessible features at the Property in order to ascertain whether it
                 meets Plaintiff’s individual disability needs[.]” (Complaints ¶ 30)
                 The complaints do not plead how many times Plaintiff visited each
                 website. Moreover, while Plaintiff pleads a laundry list of
                 “disability accommodations” he was “unable to verify” “whether
                 the Property contain[ed],“ (Complaints ¶ 31), the complaints do
                 not even plead that Plaintiff, who “resides in Miami, Florida,”
                 (Complaints, ¶ 1) has any intention of visiting New Jersey,
                 much less the specific properties identified in the complaints.
                 Rather, Plaintiff merely pleads in conclusory fashion that “Plaintiff
                 intends to revisit Defendant’s or Defendant’s third-party agent’s
                 website and/or online reservation system in order to test it for
                 compliance with 28 C.F.R. § 36.302(e)2 and/or otherwise
                 determine if the site provides enough information for Plaintiff to

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   The Court notes that 28 C.F.R. § 36.302(e) (1), which Plaintiff cites in the complaint at bar,
  does not impose a specific duty on places of public accommodation to include descriptions of
  disability accommodations on their websites. The regulation merely requires that a place of
  public accommodation “[i]dentify and describe accessible features . . . in enough detail to permit
  individuals with disabilities to assess independently whether a given hotel or guest room meets
  his or her accessibility needs.” 28 C.F.R. § 36.302(e) (1) (ii). The regulation is silent as to where
  or how a place of public accommodation must identify and describe its accessible features, and
  Plaintiff’s complaints are silent in this regard.

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                 determine whether the site comes into compliance with the
                 guidelines of the aforementioned law.” (Complaints ¶ 39)

                 Thus, it does not appear that Plaintiff has pled an injury in
                 fact. In this regard, the Court finds this case analogous to Murray
                 v. Lifetime Brands, Inc., No. CV 16-5016, 2017 WL 1837855
                 (D.N.J. May 8, 2017). In that case, as here, the plaintiff’s claim
                 was premised on an “‘unlawful denial of access to information
                 subject to disclosure.’” Id. at *3 (quoting In re: Nickelodian
                 Consumer Privacy Litig., 827 F.3d 262, 273-74 (3d Cir. 2016)). In
                 Murray, Judge Hillman held that the plaintiff had not established
                 an injury in fact, explaining, “[c]ritically, what Murray fails to do,
                 however, is identify the harm that resulted from allegedly not
                 knowing what she asserts the [law] requires [defendant] to tell
                 her.” Id. at *4,

                 In this case, too, Plaintiff fails to plead what actual, concrete
                 harm he suffered, or will continue to suffer, as a result of
                 allegedly being unable to determine whether each property has
                 disability accommodations that meet his needs.

                 “Although Plaintiff acknowledged the Ninth Circuit has held that
                 minimal allegations that might survive a facial attack may not
                 survive a factual attack, …, he made no effort to make any
                 additional showing. Therefore, Plaintiff fails to satisfy his
                 burden of establishing subject matter jurisdiction.” (Id. at *11,
                 emphasis added.)

  Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ),

  Doc No. 4 at 4-5 (emphasis added). The Court ordered that plaintiff show cause “why this case

  should not be dismissed for lack of Article III standing.” Id. at 6. The defendant subsequently

  filed a motion to dismiss much like the present motion, and the Court issued an Order

  granting defendant’s motion to dismiss for lack of subject matter jurisdiction. Hernandez v.

  Caesars License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ), Doc No. 25.

         The second case Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06088-

  RMB-KMW (USDC DNJ), Doc No. 24, had the same outcome. In the third case, plaintiff filed a

  notice of voluntary dismissal, presumably acknowledging the lack of standing and jurisdiction.

  Hernandez v. Montego Bay Resort and Conference Center, Case No. 1:19-cv-06091-RMB-AMD


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  (USDC DNJ), Doc No. 5. Here too, the case lacks subject matter jurisdiction and the Complaint

  should be dismissed by the Court.

         E.      Because Courts Determine Jurisdiction Based On The Original Complaint,
                 The Filing Of The Amended Complaint Cannot Cure Defects In The
                 Complaint

         “Standing is determined at the outset of the litigation.” McNair, 672 F.3d at 226 (quoting

  Davis v. FEC, 554 U.S. 724, 734 (2008)). Thus, “[i]n determining federal court jurisdiction, we

  look to the original, rather than to the amended, complaint. Subject matter jurisdiction must exist

  as of the time the action is commenced.” Morongo Band of Mission Indians v. Cal. State Bd.

  Equalization, 858 F.2d 1376, 1380 (9th Cir. 1988). As a result, “[i]f jurisdiction is lacking at the

  outset, the district court has ‘no power to do anything with the case except dismiss.’” Id.

  (internal citations omitted).

         The Amended Complaint does not meet Plaintiff’s burden to set forth any facts to

  demonstrate that this Court has jurisdiction. While the Amended Complaint attempts to plead

  facts for standing to sue, it does not provide actual evidence in response to the Motion to

  Dismiss. Where the moving party makes a factual challenge by presenting evidence on a Rule

  12(b)(1) motion to dismiss, “the party opposing the motion must furnish affidavits or other

  evidence necessary to satisfy its burden of establishing subject matter jurisdiction.” Wolfe v.

  Strankman, 392 F.3d 358, 362 (9th Cir. 2004). See also, Purely Driven Prods., LLC v.

  Chillovino, LLC, 171 F. Supp. 3d 1016, 1018 (C.D. Cal. 2016) (“In reviewing factual attacks,

  ‘[t]he court need not presume the truthfulness of the plaintiff's allegations.’ Id. Plaintiff bears the

  burden of establishing federal subject matter jurisdiction.”); Whitaker v. LSB Prop. Mgmt., LLC,

  2020 U.S. Dist. LEXIS 108874 (C.D. Cal. June 22, 2020):

                 “Although Plaintiff acknowledged the Ninth Circuit has held that
                 minimal allegations that might survive a facial attack may not
                 survive a factual attack, …, he made no effort to make any


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                 additional showing. Therefore, Plaintiff fails to satisfy his
                 burden of establishing subject matter jurisdiction.”

  Id. at *11 (emphasis added).

         Plaintiff’s incomplete attempts in the Amended Complaint to fix defects in the case

  through a few vaguely worded, non-committal allegations about some potential future travel are

  not legally relevant and should not be considered. Plaintiff lacks standing to bring this case.

  IV.    CONCLUSION

                 Plaintiff lacks standing in this case, and it is respectfully submitted that the Court

  accordingly lacks subject matter jurisdiction. This issue has been thoroughly explored by other

  courts, including in dozens of cases involving this very Plaintiff, resulting in orders and

  dismissals for lack of jurisdiction. Thus, Defendant respectfully requests that the Court dismiss

  Plaintiff’s Complaint with prejudice for lack of subject matter jurisdiction as well.


  Dated: October 12, 2020                      Respectfully submitted,

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                                               Pro Hac Vice Motion to be filed

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